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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division

JOHN COREY FRASER, on behalf of himself and all )
others similarly situated as a Class;           )
                                                )
                  Plaintiff,                    )
      v.                                        ) Civil Action No. 3:22-cv-00410
                                                )
BUREAU OF ALCOHOL, TOBACCO, FIREARMS            )
AND EXPLOSIVES; et al.                          )
                                                )
                  Defendants.                   )
________________________________________________)


                                      NOTICE OF APPEARANCE

          Please take notice that Jonathan H. Hambrick, Assistant United States Attorney for the

Eastern District of Virginia, is entering his appearance as counsel for the defendants in this

action.

Dated: September 6, 2022
                                                      Respectfully submitted,

                                                      JESSICA D. ABER
                                                      UNITED STATES ATTORNEY

                                               By:    /s/
                                                      Jonathan H. Hambrick
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of September, 2022, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of

such filing (NEF) to the following:

                              Elliott Harding, Esquire
                              Harding Counsel, PLLC
                              608 Elizabeth Avenue
                              Charlottesville, VA 22901




                                                      /s/
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